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3                               NOTE: CHANGES MADE BY THE COURT
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                         UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
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11   HOANG TRINH, et al.,                     Case No. 8:18-cv-316-CJC-GJS

12               Petitioners,                 ORDER GRANTING
13                                            UNOPPOSED MOTION TO
          v.                                  EXTEND BRIEFING AND
14                                            DISCOVERY DEADLINES
15   MATTHEW T. ALBENCE, Acting
     Director, U.S. Immigration and Customs   Hon. Cormac J. Carney
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     Enforcement, et al.,                     Hon. Gail J. Standish
17
18               Respondents.
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       ORDER GRANTING UNOPPOSED MOTION TO EXTEND BRIEFING AND DISCOVERY DEADLINES
 Case 8:18-cv-00316-CJC-GJS Document 108 Filed 01/07/20 Page 2 of 2 Page ID #:1158




1                                        ORDER
2          The Court, having considered Respondents’ Unopposed Motion to Extend
3    Briefing and Discovery Deadlines, and good cause appearing, hereby orders as
4    follows:
5          1.   The discovery-cutoff date is extended from January 29 to February 21,
6               2020, for the limited purposes of resolving the current discovery
7               dispute, allowing Petitioners to depose Marla Jones, and resolving any
8               dispute related to Ms. Jones’ deposition.
9          2.   The discovery-briefing schedule is revised as follows: Respondents’
10              opening brief is due on January 15; Petitioners’ response brief is due on
11              January 22; Respondents’ reply brief is due on January 24; and
12              Respondents will provide the disputed documents to the Court by
13              January 10.
14         IT IS SO ORDERED.
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16   DATED: January 7, 2020               ________________________________
17                                        Honorable Cormac J. Carney
                                          United States District Judge
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       ORDER GRANTING UNOPPOSED MOTION TO EXTEND BRIEFING AND DISCOVERY DEADLINES
